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9                        IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,                 Case No. 1:10-cr-00249-AWI-BAM-5
12                Plaintiff,                   ORDER FOR FORFEITURE MONEY
                                               JUDGMENT IN THE AMOUNT OF
13         v.                                  $1,017,100
14
     DARLING ARLETTE MONTALVO,
15
                  Defendant.
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           Based upon the United States of America’s Motion for
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     Forfeiture Money Judgment and the entry of a guilty verdict
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     against Defendant DARLING ARLETTE MONTALVO,
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           IT IS HEREBY ORDERED that
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           1.     The defendant, Darling Arlette Montalvo, forfeit to
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     the United States the sum of $1,017,100 and that the Court
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     imposes a personal forfeiture money judgment against defendant
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     in that amount.
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           2.     Any funds applied towards such judgment shall be
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     forfeited to the United States of America and disposed of as
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     provided for by law.         Prior to the implementation of sentence,
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     Order for Forfeiture Money Judgment   1
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1    any funds delivered to the United States to satisfy the personal
2    money judgment shall be seized and held by the U.S. Marshals
3    Service, in its secure custody and control.
4          3.     This Order of Forfeiture shall become final as to the
5    defendant at the time of sentencing and shall be made part of
6    the sentence and included in the judgment.
7          4.     In accordance with Rule 32.2(b)(3), the United States,
8    in its discretion, shall be allowed to conduct discovery,
9    including but not limited to serving Interrogatories, Requests
10   for Admissions, Requests for Production of Documents, the taking
11   of depositions, and the issuance of subpoenas, in order to
12   identify, locate or dispose of property to satisfy the money
13   judgment.       The United States may, at any time, move pursuant to
14   Rule 32.2(e) to amend this Order of Forfeiture to substitute
15   property having a value not to exceed $1,017,100 to satisfy the
16   money judgment in whole or in part.
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     IT IS SO ORDERED.
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19   Dated: April 14, 2015
                                           SENIOR DISTRICT JUDGE
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     Order for Forfeiture Money Judgment   2
